                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF MISSOURI
                                 WESTERN DIVISION

UNITED STATES OF AMERICA,                       )
                                                )
       Plaintiff,                               )
                                                )
       v.                                       )          No. 10-00320-19-CR-W-DGK
                                                )
MUHAMMAD IBRAHIM ROLLIE,                        )
                                                )
       Defendant.                               )

                                           ORDER

       Pending before the Court are Defendant’s Motion to Suppress (Doc. 253), the

Government’s response (Doc. 274), Defendant’s reply (Doc. 288), and United States Magistrate

Judge Robert E. Larsen’s Report and Recommendation recommending that the motion be denied

(Doc. 396). The Court has also fully reviewed the motion hearing transcript (Doc. 303).

       After carefully reviewing the Magistrate’s report and conducting an independent review

of the record and applicable law, it is hereby ORDERED that Magistrate Judge Larsen’s Report

and Recommendation be ADOPTED. Defendant’s Motion to Suppress (Doc. 253) is hereby

DENIED.

       IT IS SO ORDERED.

Date: February 15, 2012                          /s/ Greg Kays
                                                GREG KAYS, JUDGE
                                                UNITED STATES DISTRICT COURT




      Case 4:10-cr-00320-DGK          Document 397       Filed 02/15/12     Page 1 of 1
